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                                                                                     AT M NVILLE.VA
                                                                                          F      D

                                                                                        T            1
                         IN TH E UNITED STATES DISTRICT COURT                     JUL    ,DU EM rdERK
                        FOR THE W ESTERN DISTRICT OF VIRGINIA                    By:        *
                                   R O AN O K E DIV ISIO N                                       L

U NITED STATE S O F A M E RIC A                      C rim inalA ction N o.7:94-cr-40106-6

V.                                                   M EM O M ND U M O PINIO N

LITTLE TO M C H ILD RE SS,                           By:     H on.Jackson L .K iser
     Petitioner.                                             SeniorUnited StatesDistrictJudge

        LittleTom Childressfiled a seventy-fourpagepetition forawritoferrorcoram nobisto

challengehis1998 conviction forconspiringto distributecocaine base,possessing with the intent

todistributecocainebase,anddistributingcocainebase,inviolationof21U.S.C.jj846and
841(a)(1),foractscommittedin 1993and 1994withintheW esternDistrictofVirginia.
        Following hisconvictions,petitionernoted an appealto theFourth CircuitCourtof
A ppeals. Petitionerfiled apro sebrief,andhiscounselfiled an Anders1brief. In his

supplem entalpro >qbrief,petitionerargued thatlen-ed by failing to givehim a downward
                   ..




departureforpost-offenserehabilitation.United Statesv.Childress,No.98-4666,1999 U.S.

App.LEXIS30361,at*6 (4thCir.Nov.22,1999).Petitionerandcounselbotharguedthatl
erredby increasing hisoffense levelby two levelsforpossession ofafirearm ,pursuantto United

StatesSentencingGuidelinej2D1.1(b)(1).TheCourtofAppealsrejectedtheseclaimsand
affirm edpetitioner'sconvictions.

       In 2000,petitionerfiled a m otion to vacate,setaside,orcorrecthis sentence. Petitioner

argued that,interalia,Ilackedsubjectmatterjurisdictionbecausetheindictmentwasdefective,
                   -




he w as a victim ofan unauthorized prosecution and prosecutorialm isconduct,and Iunlaw fully

sentenced him . By m y M em orandum O pinion and Orderdated August30,2002,ldism issed his


lSee Andersv. Cal
                ifornia,386U.S.738(1967)(describingtherequiredbriefwhenappellatecounselfindsno
meritoriousissuestoappeal).
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m otion mld requeststo dism issnuncpro tunctheindictm ent.Ispecifically dismissed hisclaim s

aboutsubjectmatterjmisdiction,unauthorizedprosecution,andprosecutorialmisconductas
procedurallydefaultedbecausehedidnotappealtheissueordemonstratecauseandprejudiceto
excusethe default.

           Petitionerhasbeen released from incarceration and supervision. In theinstantpetitions

petitioneralleges the follow ing claim s:

                  Thegrandjurytranscriptsclearly show thattheUnited Statesneverinstructedany
                  grandjurorsontheapplicablelaws(Pet.8);
               2. Gt-f'
                      hegrandjtlrorsg'qminutesortranscriptsoftheallegedfraudulentlyilgllegal
                  defectiveindictmentof8/17/1994,8/18/1994,landl8/19/1994which suppose
                  been originaldefectiveindictment''rsicl(j#.);
                  1knew andcondonedofthegaudulentgrandjuryinstructionsandillegally
                  convictedinnocentpeople(Pet.9);and
                  Themagistratejudgeconspiredwithunknownactorstopromotethefraudulent
                  indictmentsandillegallycausepetitioner'sfalseimprisonment(i<).
Petitionerdoesnotdescribeany collateralconsequence ofhisconviction.

                                                 Il.

                                                 A.

           Congresshasconferred distrid eourtswiththeauthoxity to decide only certain typesof

cases.Under28U.S.C.j 1331,thedistrictcourtsEthaveoriginaljtlrisdiction ofa1lcivilactions
arisingundertheCohstitution,laws,ortreatiesoftheUnited States.''Under28U.S.C.j1343,
thedistrictcourthavejtlrisdictionover,interalia,acaseinvolvingastatepenitentiaryinmate's
civilrights.Thisjurisdiction isnotunlimited,however.TheUnitedStatesSupremeCourthas
repeatedlyheld thatûGthe federalcourtsarewithoutpowerto entertain claim sotherwisewithin

theirjurisdictioniftheyaresoattenuated andunsubstantialastobeabsolutelydevoidofmerit,
. . .   whollyinsubstemtial,...obviously frivolousr,)...plainlyunsubstantial,...ornolonger

                                                 2
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opentodiscussion.''Hacansv.Lavine,415U.S.528,536-37(1974)(internalquotationsand
citationsomitted).Rule12(b)(1)authorizesthedistrictcourttodismissatEpatentlyinsubstantial
complaint...forwantofsubject-matterjurisdiction.''Nqitzkç-vs-Wjlti
                                                                 -gms,490U.S.319,327
n.6(1989).Furthermore,thecourthasanindependentobligationtoevaluate,suasponte,its
subjectmatterjurisdiction ifitisin doubt.Mt.HealthvCitvSch.Dist.Bd.ofEduc.v.Doyle,
429U.S.274,278(1977).SeeApplev.Glenn,183F.3d477,479-80(6thCir.1999)(finding
thatcomplaintmaybedismissedsuaspontetdforlackofsubjectmatterjurisdictionplzrsuantto
Rule 12(b)(1)oftheFederalRulesofCivilProcedurewhentheallegationsofacomplaintare
totally implausible,attenuated,tmsubstantial,frivolous,devoid ofm erit,orno longeropen to

discussion'').
                                              B.

       A writofcornm nobisisan tdextraordinaly remedy,''and courtsshould grantthewrit

Gtonlyundercircllmstancescompellingsuchactiontoachievejustice''afld tocorrectenorstûof
themostfundnmentalcharacter.''UnitedStatesv.M organ,346U.S.502,511-12(1954).Coram
nobisreliefisGtsubstantially equivalent''to habeascorpusrelief.Unitçd statçsv.Little,608F.2d
                                                                      -




296,299(8thCir.1979).
       IG-
         l-hedoctrineofabuse ofthewritdefinesthecircum stancesin which federalcourts

declineto entertain a claim presented forthefirsttim ein a second orsubsequent''collateral

attack.M ccleskevv.Zant,499U.S.467,470(1991).SeeZavasv.INS,311F.3d247,252-53
(3rdCir.2002)(abuseofthewritdoctrinenotsupplantedby28U.S.C.jj2244(b),2255(h));
M endezv.United States,No.04-HC-90-FL,2004 U .S.Dist.LEXIS 30249, *5 n.1,2004 W L

3327911,*2n.1(E.D.N.C.Dec.27,2004)tsamel.Thecornm nobispetitionermustshow cause
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andprejudictorafundamentalmiscarriageofjusticetoexcuseafailuretoraisetheclaim earlier
to avoid dismissalasan abuseofthewrit.M cclesky,499 U.S.at494-95. SeeM urrav v.

Carrier,477U.S.478,491(1986);Millerv.Bordenkircher,764F.2d 245,250n.5(4thCir.
1985)(discussingabuseofthewritdoctrineinthecontextof28U.S.C.j2254).Inorderto
satisfythetlcause''requirem ent,apetitionermustshow thatsom eexternalim pedim entprevented

him from presentinghisclaim in atim ely and procedurally properm nnner. SeeNoblev.Barnett,

24F.3d582,58à(4thCir.1994)(holdingthattheclaimspresentedinapplicant'sthirdhabeas
petition wereban'edby the abuseofthewritdoctrinebecauseapplicantEéhad fullknowledgeof

the factscentralto each ofthese claimsatthetimethathefiledhissecondpetition forawritof

habeascorpuf').Thecauseinquiryfocusesonwhetherthepetitionerwaspreventedfrom
including aparticularclaim in hism ostrecentpetition. SeeW ashindon v.Delo,51F.3d 756,

761(8th Cir.1995)(statingacourtdoesnotneedtoreview thealternateprongwhenpetitioner
failstoestablish oneprong).
       Petitionerarguesthathecannotdefaulthisclaim aboutmyallegedlackofjurisdiction.
(Pet.6.) However,petitioner'sjurisdictionalargumentisbasedonafaultyindictmentand
improperlychargedgrandjury,whichareclaimspetitionercouldhaveraisedondirectappeal.1
               ?
         q


already advised petitionerby m yAugust30,2002,M emorandum Opinion thatthisclaim was

procedurally defaulted andpetitionermustshow causeandprejudicetoexcusedefault.Despite
thisadvice,petitionerfailstodescribecauseandprejudicetoexcusehisfailtlretoraisetheissue
during both directappealorduring hisfirstcollateralattack. Petitionerfurtherfailsto describe

causeandprejudicetoexcuseanabuseofthewritforwhyhemayraisetheissueonceagain
although1alreadyadjudicateditatleastonce.Furthermore,petitioner'sclaimsaboutacourt

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conspiracytoconvictinnocentpeopleandthat1laLkedsubjectmatterjurisdiction overplaintiffs
trialforhis crim inalacts com m itted w ithin the W estern DistrictofV irginia are frivolous.

                                                 111.

       Forthe foregoingreasons,1dism issthepetition foraw'
                                                         ritoferrorcoram nobiswithout

prejudiceaswhollyinsubstantial,obviouslyfrivolous,plainlyunsubstantial,andnolongeropen
to discussion.

       TheClerk isdirectedto sendcopiesofthisM em orandum Opinion and theaccompanying

orderto petitionerand counselofrecord fortheUnited States.

       EN TER :Thi       VV dayofoctober2011.,



                                                                         t
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                                                             Se orUnited StatesDistrictJudge




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